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                                U.S. DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
     DIEGO CASANOVA                              Case No. EDCV 16-918-GW(DTBx)
11
12                    Plaintiff,                 Dist. Judge: Hon. George H. Wu
13                                               COURT ORDER UPON PARTIES’
              vs.
14                                               JOINT MOTION FOR DISMISSAL
15
     LVNV FUNDING, LLC; and J.C.
16   CHRISTENSEN & ASSOCIATES,
     INC.
17
18                    Defendants.
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22   PLEASE TAKE NOTICE:
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24         The parties in this matter— Plaintiff DIEGO CASANOVA and Defendants
25   LVNV FUNDING, LLC and J.C. CHRISTENSEN & ASSOCIATES, INC.—have
26   jointly moved for a dismissal of this entire matter.
27         Pursuant to the Joint Motion of the Parties, the dismissal is to be with prejudice
28   as to Plaintiff DIEGO CASANOVA, but without prejudice as to the putative class as
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1    there has been no class certification in this matter.
2          Each party shall bear its own attorneys’ fees and costs.
3
4    IT IS SO ORDERED.
5
6    Dated: October 19, 2016
7
                                             By:                                  ______
8                                                       GEORGE H. WU, U.S. District Judge
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